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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA



IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION
                                              MDL No. 2741

                                              CASE NO. 3:16-md-02741-VC

This document relates to:
                                              KOEN PLAINTIFFS’ OBJECTIONS TO
Koen v. Monsanto Co.,                         PRETRIAL ORDER 312 REGARDING
Case No. 3:20-cv-03074-VC                     DISTRIBUTION OF ENTIRE COMMON
Civil Action No. 1:22-cv-209-RP (W.D. Tex.)   BENEFIT HOLDBACK
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                         INTRODUCTION AND SUMMARY OF ARGUMENT

       The Koen Plaintiffs hereby object to Pretrial Order 312, which directs that the entire $24

million+ common benefit fund generated by the 8% holdback of attorneys’ fees be distributed to

lead counsel in this MDL.

       The underlying action, Koen v. Monsanto Co., Inc., Civil Action No. 1:22-cv-209-RP

(W.D. Tex.), settled the morning of jury selection two and one-half years after it was transferred

from the MDL to the Western District of Texas. Had this case not settled, it would have been only

the second federal trial involving injuries caused by Roundup, the first being Hardeman v.

Monsanto. Unlike Hardeman, however, the bulk of the work in this case was conducted by

undersigned counsel outside of the MDL and involved issues specific to Bradley Koen’s

circumstances.

       Due to Bradley Koen’s unique injuries (which ultimately caused his death post-remand),

Plaintiffs’ trial team spent over 3,800 hours developing the evidence and preparing for trial, and

incurred over $450,000 in costs after this Court transferred the case back to Texas.

       Because it was the singular work done by Plaintiffs’ counsel here that ultimately brought

Monsanto to the bargaining table, requiring a common benefit contribution would do nothing to

address the “free rider” problem the common benefit doctrine is supposedly designed to address.

See, e.g., Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (noting that common benefit

doctrine “rests on the perception that persons who obtain the benefit of a lawsuit without

contributing to its cost are unjustly enriched at the successful litigant’s expense”); see also In re

Roundup Prod. Liab. Litig., 544 F. Supp. 3d 950, 970 (N.D. Cal. 2021) (Chhabria, J.) (hereafter “In

re Roundup”) (discussing free-rider justification for common benefit holdbacks in MDLs). Rather,

requiring such a contribution would unjustly enrich lead counsel at Plaintiffs’ attorneys’ expense.




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Plaintiffs therefore urge this Court to exempt this case from any common benefit distribution in

this MDL.

         With respect to other cases in the MDL, Plaintiffs urge the Court to order that a common

benefit distribution is only warranted with respect to work done by lead counsel exclusively for the

benefit of the MDL, such as the administrative work done by liaison counsel. It makes sense to

compensate those efforts, because otherwise there would be no incentive to take on those

important tasks.

         But as to work that would have been done regardless of the MDL, there is no equitable or

practical justification for any common benefit distribution. As one commentator has noted,

“[c]ommon-benefit fees are supposed to compensate attorneys for the benefit they confer on others

—not for work on their own cases.” Elizabeth Chamblee Burch, Monopolies in Multidistrict

Litigation, 70 Vand. L. Rev. 67, 121 (2017) (“Monopolies”). In this MDL, as the Special Master

noted in his Report and Recommendation, ECF 20028 (“R&R”), “lead counsel’s work primarily

benefited lead counsel.” R&R at 13. Under these circumstances, “quantum meruit suggests the

court should compensate [lead counsel] only for the benefit they confer on others beyond the work

they would typically perform for their own cases.” Monopolies, 70 Vand. L. Rev. at 132.

         Even if lead counsel deserve additional compensation for work they would have done

regardless of the MDL, they’ve already gotten it by receiving preferential treatment in their own

cases.    As the Special Master found, lead counsel received “significantly higher per-case

settlements” than other firms in the MDL, even with respect to cases brought by non-lead counsel

“that had reached the eve of trial.” Id. at 19; see also In re Roundup, 544 F. Supp. 3d at 971 (noting

that “lead counsel’s MDL clients . . . are already no doubt being compensated more handsomely

than the typical MDL plaintiff”). Equity does not require that lead counsel receive even more



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compensation for their efforts, particularly not where—as here—the underlying case presents

unique issues and requires substantial time and expense to resolve outside of the MDL.

       As to the practicalities: Plaintiffs agree that mass tort cases “would be impossible to

manage if good lawyers lacked sufficient incentive to step up.” In re Roundup, 544 F. Supp. 3d at

952. But there is no need to incentivize lead counsel to perform work that they would have done

regardless of the MDL, such as their work establishing general causation. That work needed to be

done for the benefit of lead counsel’s own clients. The fact that it also benefitted non-lead lawyers

in the MDL does not, in an of itself, justify any common benefit distribution.             See, e.g.,

Restatement (Third) of Restitution & Unjust Enrichment § 2, cmt. b. (AM. L. INST. 2011) (“the

fact that we derive advantage from the efforts and expenditures of others is not ‘unjust enrichment’

but one of the advantages of civilization.”); Charles Silver, Geoffrey P. Miller, The Quasi-Class

Action Method of Managing Multi-District Litigations: Problems and A Proposal, 63 Vand. L.

Rev. 107, 121–22 (2010) (“A Proposal”) (noting that “[t]he common fund doctrine applies only

when claimants are unjustly enriched. To be unjustly enriched, however, more is required than that

claimants benefit from the efforts of others—much more.”).

        For these reasons, the Koen Plaintiffs urge the Court to hold that common benefit

distribution is only warranted with respect to work done exclusively for the benefit of the MDL and

direct the Special Master to identify and recommend a value for that work. At a minimum, the

Court should order the return of the common benefit holdback in cases, like this one, where

substantial resources were expended post-remand to bring the case to a conclusion.




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                                         RELEVANT FACTS

       Before addressing the facts of the underlying case, Plaintiffs review this Court’s pretrial

rulings on the common benefit issue and the Special Master’s Report and Recommendation

regarding same. We then discuss the circumstances of this particular case.

       A.      Pretrial Order 236.

       In 2021, in response to a request from lead counsel, this Court ordered “all attorneys

representing plaintiffs in this MDL . . . to holdback 8% of the gross amount of any recovery

received through settlement or judgment and deposit this amount into the Common Benefit Fund.

The 8% holdback must come from the attorney’s fee portion of the recovery, not the client’s

portion.” In re Roundup, 544 F. Supp. 3d at 952 (“PTO 236”) (discussing holdback request).1

       The Court’s scholarly opinion began by noting that the MDL attorney compensation

system “seems to have gotten totally out of control.” Id. at 953. The Court observed that, although

the lead lawyers “undoubtedly invested a great deal of time and money in these cases, now they’re

likely making so much from settling their own ‘inventories’ that they can each afford to buy their

own island.” Id.

       The Court then noted that, although lead counsel’s work on general causation impacted all

plaintiffs in this MDL, “what really opened the floodgates for settlement were the three jury

verdicts, two of which took place in state court, not the MDL.” Id.2

1Lead counsel requested that the holdback also include Roundup cases in state court and people
who settled with Monsanto before filing any lawsuit at all. See id. at 952-53. This Court refused to
issue any such “far-reaching order,” instead limiting the holdback to cases within the MDL. Id. at
973.
2 Here, the Court is referring to the verdicts in Pilliod v. Monsanto and Johnson v. Monsanto, the

two state court cases in Spring 2019 that yielded verdicts far dwarfing the $80 million awarded by
the jury in Hardeman v. Monsanto. See In re Roundup, 544 F. Supp. 3d at 955-56 (discussing the
$289 million verdict in Johnson and the $2 billion verdict in Pilliod, later remitted to $20.5 million
and $87 million, respectively).

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       Importantly, the Court then observed that although lead counsel’s hard work helped lay the

groundwork for other lawyers in the MDL to get settlements for their clients, “the settlements

obtained by those lawyers were likely far lower than the settlements obtained by lead counsel for

their ‘inventories,’ thus diminishing the need to address the free rider problem.” Id.3

       The Court also observed that “there is a certain arbitrariness to lead counsel’s request for

8.25%.” Id. at 970. In the Court’s view, an across-the-board holdback of 8.25% of all attorneys’

fees “assumes (contrary to the discussion in this ruling) that even if the attorneys who did common

benefit work have already been compensated obscenely compared to the free riders—they should

automatically be entitled to more because those who benefitted from their work should be taxed no

matter what.” Id. In the Court’s view, “[t]hat is neither necessary nor desirable.” Id.

       Despite these observations, the Court concluded that “a holdback is justified for recoveries

obtained by plaintiffs in the MDL.” Id. at 970-71. First, the Court explained, a holdback was

warranted because “there is a reliance interest at play here.” Id. at 971. “After all,” the Court

observed, “the Court signed lead counsel’s proposed order at the outset of the MDL, thereby

creating an expectation that a common benefit fund would be created.” Id.

       Second, the Court observed, “the common benefit work performed in the MDL indeed

conferred a significant benefit on MDL plaintiffs and their lawyers. The work on general causation,

on summary judgment in the bellwethers, and on the Hardeman trial helped pave the way for

substantial settlements for other MDL plaintiffs . . ..” Id.

        The Court cautioned, however, that “ordering a holdback does not necessarily mean that

more money will be distributed to lead counsel.” Id. at 970. “Perhaps,” the Court wrote, “all or



3As this Court explained, “free riding” occurs “when people sit back and watch one plaintiff work
hard (and spend hard) to obtain a favorable result, only to swoop in and benefit from that result in
the end.” Id. at 960.
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most of the money will be sent back to the people who were subject to the holdback, in which case

delay would be the only real consequence.” Id.; see also id. at 971 (noting that “it would not be

surprising to see all plaintiffs receive all or part of that money back.”).

        The Court indicated that the key determinant in whether the holdback would be returned is

whether “the lawyers in the MDL who performed common benefit work are adequately

compensated in relation to the lawyers who did not.” Id. at 970. Thus, the Court stated, “all

counsel in the MDL . . . may have a strong claim to ultimately recover the amount withheld from

their clients’ recovery, based on an argument that lead counsel’s relative compensation is already

so high that no further redistribution is warranted.” Id. at 971.

        B.      The Special Master’s Report and Recommendation.
        In the wake of PTO 236, this Court appointed a Special Master to provide a

recommendation regarding the distribution of monies in the common benefit fund. The Special

Master ultimately recommended that “the Court not reallocate money in the fund to lead counsel

and instead order that the deposits be returned to each of the depositing firms.” R&R at 2.

        The Special Master noted that a host of factors weigh against distributing the common

benefit funds in this case. (We summarize only a few of those factors here.)

        First, the Special Master observed, the fact that lead counsel’s work benefited other MDL

firms does not, in and of itself, justify a forced fee transfer. “It is a common practice for one firm to

borrow from the work product of another firm without incurring any charge. A law firm that

borrows from another firm’s complaint or brief generally has no obligation to pay for it . . .

Lawyers often receive positive spillover benefits from other lawyers that the law allows them to

enjoy free of charge.” R&R at 8.

        The Special Master acknowledged that, although much of lead counsel’s work, particularly

on general causation and preemption, benefitted other MDL plaintiffs, “[i]t was work in both state

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and federal courts that resulted in the large verdicts that increased the settlement pressure on

Monsanto. The overlapping work makes it difficult to tie the benefits with any precision to the

work performed in the MDL, further weighing against a redistribution of funds.” Id. at 9.

       The Special Master further observed that “many law firms remain in active litigation with

Monsanto. Simply filing a lawsuit did not put them on the fast track to settlement. Monsanto

continues to contest liability in the wave cases that are still being litigated. The law firms involved

in active wave cases must develop experts sufficient to survive general and specific causation

challenges, and they must oppose motions for summary judgment.” Id. at 10.

       This “highlights a line drawing problem,” in the Special Master’s view. Id. “All firms are

subject to the same flat 8% holdback, yet the nature of the work that firms continue to perform

varies significantly.” Id. “It does not seem fair that a firm that develops experts, overcomes

motions for summary judgment, and prepares its case for trial should have to pay the same 8% cut

of its fees as a firm that settled its case with minimal work.” Id.

       Another factor weighing against a common benefit distribution, in the Special Master’s

view, was the fact that “lead counsel’s work primarily benefited lead counsel.” Id. at 13. Thus, the

Special Master observed, “many lead counsel firms were already waist-deep in litigation against

Monsanto” before being appointed as lead in this MDL. Id. at 14. As a result, “[m]ost of the work

that lead counsel points to as warranting a redistribution of fees was necessary for the advancement

of their own cases.” Id. Awarding a common benefit distribution would therefore result in lead

counsel being “paid twice” for the same work—a factor that, although not dispositive in the

Special Master’s view, “must be acknowledged. Id.

       The Special Master also noted “some firms have objected to a holdback on the ground that

lead counsel have failed to provide them with requested assistance.” Id. Thus, for example,



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              Non-lead firms have reported that emails and calls to lead counsel have gone
               unanswered.

              Non-lead firms have claimed that lead counsel failed to make experts available or
               that lead counsel has monopolized experts for their own benefit to the detriment of
               other firms.

              Non-lead firms have claimed that lead counsel has prioritized the settlement of their
               own inventories of cases over those of non-lead firms.

              Non-lead firms have reported that they received more help from trial packages
               prepared by firms litigating against Monsanto in state court than from lead counsel
               in this MDL.


Id. at 14-15. “Undoubtedly,” the Special Master concluded, “there are two sides to these stories,

but they reflect the overarching challenge of determining with any meaningful precision the extent

to which the lead counsel’s work in the MDL conferred benefits on nonlead firms.” Id. at 15.

       Finally, the Special Master observed that lead counsel have already greatly benefited from

their leadership role in the MDL by receiving preferential treatment for their own inventories of

cases. “In this MDL,” the Special Master observed, “lead counsel’s recoveries on their claims are

significantly higher than those of most non-lead firms, and out of that approximately 5,600 cases

filed in this MDL, almost 10% of those cases were filed by lead counsel firms. Based on the data

that has been obtained to date, lead counsel has settled their cases for significantly higher per-case

amounts than non-lead counsel firms. Serving in leadership positions has clearly provided lead

counsel benefits not enjoyed by other law firms in the MDL.” Id. at 17 (emphasis added).

       The Special Master concluded that “each lead counsel firm obtained attorneys’ fees that are

considerably higher than those obtained by many other firms in this MDL.” Id. at 19. “While a

small number of firms have received fees comparable to those of lead counsel in this MDL, these

firms’ per-case settlements were still significantly lower than those of lead counsel, and some of

these firms had cases that reached the eve of trial.” Id. “[T]he bottom line,” the Special Master

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wrote, “is that lead counsel recovered much more from this MDL than many of the firms that they

are seeking to take additional fees from.” Id.

        That was likely only the tip of the iceberg in terms of lead counsel’s compensation, the

Special Master observed, because “most of the cases that lead counsel resolved were likely non-

MDL cases”—i.e., state court cases that never became part of the MDL. Id. Thus, “[i]t’s been

reported that Weitz & Luxenberg, The Miller Firm, Wagstaff Law Firm, Wisner Baum, and Moore

Law Group have been involved in the settlement of some 32,000 cases.” Id. at 20. “The Miller

Firm alone,” he added, “is reported to have settled approximately 5,000 cases for a total of $850

million (or an average of $160,000 per case).” Id. (citation omitted). “Given the overlap in the

state and federal court litigation—including the three large bellwether verdicts that brought

Monsanto to the negotiating table—lead counsel’s recoveries are likely far greater when non-MDL

cases are considered.” Id.

        The Special Master also noted that while “the primary rationale for the holdback is

[incentivizing] good lawyers to step up to lead an MDL[,] . . . this consideration can also cut the

other way.” Id. at 22. Thus, he observed, “[s]mall firms may turn down cases because the potential

of an MDL tax may threaten to eat up most of the firm’s recovery.” Id. “Imposing a flat MDL tax,”

he added, “may discourage firms from bringing cases at all. This could be problematic not only for

the potential clients, but also because non-lead firms may help to publicize the harms and inform

the public of potential claims.” Id. Thus, the Special Master concluded, “[w]hen common benefit

fees are too high or indiscriminately applied, it can affect the ability of plaintiffs to find lawyers to

take their cases.” Id.

        The Special Master ultimately recommended that the entire common benefit fund should

be returned to non-lead counsel. Id. at 24. He added, however, that “[i]n the event the Court



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determines more work is necessary to decide whether common benefit funds should be

redistributed, the Special Master advises broadening the inquiry to include lead counsel’s

recoveries from non-MDL cases.” Id.

       C.      Pretrial Order 312.

       Following a March 4, 2025, hearing on the Special Master’s R&R, the Court ordered that

all the money in the common benefit fund should be distributed to lead counsel because “all the

work performed by these firms conferred a significant benefit on all the plaintiffs in this MDL.”

Dkt. 20336 (Pretrial Order 312, Mar. 13, 2025) at 1. The Court stated that, “[g]iven the difficulty of

[the common-benefit] work, the amount of time spent doing it on a compressed schedule, the high

quality of the work, and the risk that the seven firms undertook, those firms are entitled to

compensation beyond what they received through their own clients’ recoveries.” Id. at 1.

       The Court acknowledged that “there’s a degree of unfairness involved in imposing an eight

percent holdback on everyone.” Id. at 2. The Court reasoned, however, that “if you tweak a result

for one party or one group to make it more fair for them, you’ve inevitably made it less fair for

another party or another group.” Id. Moreover, the Court stated, “adjudicating the appropriate

holdback for each MDL plaintiff (or for each MDL lawyer) is not feasible from an administrative

standpoint.” Id.

       Thus, the Court concluded, the “‘least worst’ solution is achieved by distributing the $24.2

million currently in the fund to the seven firms in short order.” Id. at 3.

       In so ruling, the Court did not address the arguments set forth in the Special Master’s R&R

as to why a common benefit distribution is not warranted in this MDL. Nor did the Court consider

the amount of compensation that lead counsel have already received from their thousands of

Roundup cases in the MDL and in various state courts.



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       D.      This Lawsuit.4

       The underlying case at issue here—Koen v. Monsanto Co., Inc., Civil Action No. 1:22-cv-

209-RP (W.D. Tex.)—settled the morning of jury selection, two and one-half years after it was

transferred back to the Western District of Texas from the MDL.

       Bradley Koen used Roundup for 20 years before being diagnosed with non-Hodgkin’s

lymphoma (NHL) in 2018 at age 47. He underwent chemotherapy, a stem-cell transplant, and an

experimental, CAR-T-cell therapy—experiencing remissions and relapses along the way—until

going back into remission in June 2020. Demik Dec. ¶ 10.

       Koen sued Monsanto in the Western District of Texas in March 2020. The action was

transferred to the MDL the following month and became part of the “Wave 3 Cases.” See Case

1:22-cv-00209-RP (W.D. Tex.) Dkt. 36, Suggestion of Remand to Transferor Court (Chhabria, J.).

       Prior to remand, Monsanto filed a series of dispositive motions specific to Koen, including

a motion related to specific causation (Dkt. 19) and a motion for summary judgment based on

Texas law relating to presumption of liability (Dkt. 17).5

       Following a series of rulings on these and other dispositive motions in the Wave 3 cases in

December 2021 and January 2022, see Dkt. 36, Suggestion of Remand to Transferor Court




4These facts are based on the Declaration of Stephen Demik, lead trial counsel on the case post-
remand, which was attached as Exhibit 1 to Plaintiffs’ Amended Request for Return
of Common Benefit Holdback, Case 3:20-cv-03074-VC, Dkt. 38. For the Court’s convenience, we
have attached a copy of the Demik Declaration to this brief as well (Exhibit 1), along with a
declaration of co-counsel Scott Hendler (Exhibit 2). A procedural history of the case is also set
forth in Judge Pitman’s order of June 11, 2024, Civ. No. 1:22-cv-209-RP (W.D. Tex.), Dkt. 159.

5 These citations and similar references to “Dkt.” in this section of the brief are to the ECF docket

numbers in the Western District of Texas.

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(describing rulings),6 this Court transferred Koen’s case to the Western District of Texas in March

2022. Dkt. 37. (For the Court’s convenience, the Texas docket is attached as an Exhibit hereto.)

         About a year later, Koen began showing symptoms of a neurological decline that his

doctors at first suspected was Parkinson’s disease. Efforts to treat him were ineffective, however.

His health deteriorated for several months before he was forced to enter a memory-care facility at

the age of 50. While in the memory-care facility he became bedridden and non-communicative.

Tragically, he died there on April 5, 2023. Demik Dec. ¶ 11.

         Plaintiffs’ counsel acted immediately and conducted an autopsy of Koen’s brain, which

revealed that he had an autoimmune disorder called paraneoplastic encephalomyelitis (PEM), an

extremely rare disorder linked to NHL. After an autopsy, Koen’s doctors concluded that the PEM

was the result of his NHL.

         Post-remand, the case was heavily litigated by both parties for two and one-half years until

it settled on the morning jury selection was scheduled to begin. See Order of July 20, 2024, Dkt.

288 (staying case in light of settlement); Demik Dec. ¶¶ 10-26. Part of the reason for the extensive

post-remand litigation was the unique nature of Koen’s injuries, which caused his death in the

midst of pre-trial preparations, necessitating additional discovery and new expert reports. Id. ¶¶

14-18.




6 Specifically, the Court denied Monsanto’s motion for summary judgment based on Texas law
relating to presumption of liability. See MDL Pretrial Order No. 259 (Dkt. 14415). For challenges
to Koen’s specific causation experts, the Court granted Monsanto’s motion to exclude the
testimony of Koen’s expert Dr. Scola, finding that Dr. Scola’s testimony was not based on a reliable
methodology. See MDL Pretrial Order No. 263 (Dkt. 14432). However, the Court denied
Monsanto’s motion to exclude Dr. Freeman, incorporating the reasoning from prior rulings.
Pretrial Order No. 262 (Dkt. 14431). The Court similarly reincorporated the reasoning from prior
rulings to deny Monsanto’s motions for summary judgment on general causation and non-
causation grounds. Pretrial Order No. 273 (Dkt. 14621).

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         The Texas court had originally set trial for April 3, 2023, later reset to May 3, 2023.

Koen’s health worsened significantly during that year, however, necessitating postponements to

all the parties to obtain additional medical records and supplemental expert witness opinions. Dkt.

71 (Joint Motion to Continue Trial filed March 31, 2023); Demick Dec. ¶¶ 14-18. The court reset

the trial for October 2023. Dkt. 76.

         After Koen’s death in April 2023, the parties jointly sought another extension to May 2024,

to allow for time to obtain the results of his autopsy and the final neuropathology report. Dkt. 80

(Joint Status Report filed Sept. 29, 2023); Demik Dec. ¶¶ 7, 12-15. Trial was reset for May 6,

2024. Dkt. 82.

         In November 2023, Koen’s widow and parents (who were now the plaintiffs in the case, see

Dkts. 86 and 152, First and Second Amended Complaints) filed their Rule 26(a)(2)(A) expert

disclosure, identifying three retained experts that were not included in the MDL and a host of

medical providers specific to Koen’s unique circumstances. Dkt. 87.

         In April 2024, Monsanto filed seven motions, including six motions to exclude expert

opinions (Dkts. 106-11) and a motion for summary judgment (Dkt. 112). In the latter motion,

Monsanto argued that “[s]ummary judgment should be granted in Monsanto’s favor on Plaintiffs’

wrongful death claims because Plaintiffs cannot prove Mr. Koen’s neurological conditions and

death were due to his NHL.” Id. at 2.

         Plaintiffs, meanwhile, moved to partially exclude the testimony of Monsanto’s expert

witnesses who planned to testify on the link between glyphosate and NHL. Dkts. 113-16.

Plaintiffs also move for summary judgment on Monsanto’s affirmative defenses, including

negligent conduct, contributory negligence, improper use of products, and failure to mitigate. Dkt.

117.



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       In June 2024, the Texas court issued a detailed ruling on Plaintiffs’ motions to exclude and

for partial summary judgment and on Monsanto’s motion to strike Plaintiffs’ motions. Dkt. 159.

Notably, the court’s order makes clear that the issues raised in these motions were distinct from

issues raised in the MDL. Id.

       Later that same month, Monsanto filed 31 Motions in Limine (MILs). Plaintiffs filed 11

MILs of their own, mostly by researching prior Roundup trials in California and Pennsylvania.

Demik Dec. ¶ 21. Oppositions and replies were filed for most of these motions. Dkts. 163-250.

Out of the 42 MILs, there was very little overlap with the motions from the Hardeman case.

       Finally, as the case steamed towards trial—which had finally been scheduled for July 15,

2024, Dkt. 99—the parties filed multiple trial briefs, including briefs on causation standards and

choice of law. Dkts. 263-76. Motion practice, in fact, continued up to the week of jury selection,

as Monsanto continued to file motions to exclude Plaintiffs’ evidence. Demick Dec. ¶¶ 23-26.

       The case ultimately settled on July 12, 2024, the morning jury selection was scheduled to

begin. Dkt. 288.

       All told, the trial team spent over 3,800 hours litigating the case post remand and incurred

costs in excess of $450,000, further demonstrating the huge amount of work that went into this

case outside the MDL. Demik Dec. ¶¶ 28-29.

                                           ARGUMENT

       Plaintiffs respectfully disagree with the Court’s tentative determination that the entire

common benefit fund should be distributed to lead counsel.

       Judging from the colloquy at the March 4 hearing, the Court seemed to think that the

conferral of a benefit necessarily warrants some sort of forced fee transfer, regardless of whether

(and the extent to which) the benefit-conferring work also benefitted lead counsel and regardless of



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how much work it took to resolve the underlying case outside the MDL. The Court also seemed to

think that, regardless of its inherent unfairness, an across-the-board distribution of 8% of every fee

generated within the MDL cannot be avoided given the administrative difficulties of evaluating

every lawsuit on a case-by-case basis.

       We disagree as to each point.

       A.      Because the Mere Conferral of a Benefit Doesn’t Justify a Forced Fee Transfer,
               No Common Benefit Distribution is Warranted Except as to Work Done
               Exclusively for the Benefit of the MDL.

       First and foremost, it bears emphasis that, as a general matter, the mere conferral of a

benefit does not warrant a forced transfer of attorneys’ fees within our civil justice system. As the

Special Master observed, “[l]awyers often receive positive spillover benefits from other lawyers

that the law allows them to enjoy free of charge.” R&R at 8; see also In re Roundup, 544 F. Supp.

3d at 968 (noting that “there is nothing inherently wrong with lawyers (and by extension their

clients) benefitting from the work of other lawyers without paying them. Indeed, that’s the very

nature of a common law system built on precedent.”); Restatement (Third) of Restitution & Unjust

Enrichment § 2, cmt. b. (AM. L. INST. 2011) (“the fact that we derive advantage from the efforts

and expenditures of others is not ‘unjust enrichment’ but one of the advantages of civilization.”);

Silver & Miller, A Proposal, 63 Vand. L. Rev. at 121–22 (noting that “[t]he common fund doctrine

applies only when claimants are unjustly enriched. To be unjustly enriched, however, more is

required than that claimants benefit from the efforts of others—much more.”).

       The question, then, is whether there is a sound basis for carving out an exception to this

overall principle for MDLs. During the March 4 hearing, the Court seemed to suggest the answer

is “yes” because (1) there’s a need to incentivize good lawyers to take a lead role in MDLS; (2) as a

matter of fairness, lead counsel deserve to be adequately compensated for efforts that end up



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benefitting others; and (3) lead counsel relied on the court’s promise of compensation for common

benefit work.

       In Plaintiffs’ view, none of these reasons withstands scrutiny.

       Regarding the first point (incentivization): as the Special Master noted, “[m]ost of the work

that lead counsel points to as warranting a redistribution of fees was necessary for the advancement

of their own cases.” R&R at 14. Thus, for example, all the work on general causation that lead

counsel point to as having been of particular benefit to other MDL lawyers would have been done

even if the MDL had never come into existence. There’s obviously no need to incentivize that

work via a common-benefit distribution, because it would have been done regardless of lead

counsel’s leadership role in the MDL.

       As to the second point (fairness): there is nothing unfair about not being paid for a benefit

conferred on others; indeed, as noted above, that’s a feature of our civil justice system, not a bug.

Moreover, lead counsel have already received a hefty premium for their position as lead counsel in

the MDL. As the Special Master noted, lead counsel’s cases settled for far more than other cases

within the MDL. Although Plaintiffs don’t know the full extent of that premium (because the

figures are sealed), it’s no doubt substantial (perhaps even island-worthy).

       But beyond that, lead counsel also received untold millions in compensation for their

Roundup cases that settled outside the MDL. See R&R at 19-20. Does fairness require that these

extremely well-heeled lawyers be made even richer by taking a fee from everyone in the MDL,

regardless of the extent of any benefit conferred relative to the work performed by non-lead

counsel? Given the common-benefit doctrine’s roots in equity, Plaintiffs respectfully suggest that

the answer to that question must be no.




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       Indeed, the Court seemed to agree with that proposition in PTO 236, which stated that “lead

counsel’s relative compensation [may] already so high that no further redistribution is warranted.”

Id. Despite this observation, the Court made no reference to the amount of lead counsel’s

compensation in PTO 312, instead simply concluding that lead counsel deserve the entire holdback

regardless of their haul from their individual cases. That seems wrong to us: even if, as the Court

seems to believe, lead counsel deserve some additional compensation for having conferred a

benefit, then surely the amount of compensation they have already received deserves some

consideration.

       As to the third factor (reliance): the Court indicated, in PTO 236, that lead counsel’s

reliance on the creation of a common benefit fund militates in favor of distribution of same. See

544 F. Supp. 3d at 970 (stating “there is a reliance interest at play here. After all, the Court signed

lead counsel’s proposed order at the outset of the MDL, thereby creating an expectation that a

common benefit fund would be created.”).

       In Plaintiffs’ view, this factor deserves no weight. As a logical matter, reliance interests

justify a payment only as to work done exclusively for the MDL As to work that lead counsel

would have done anyway in furtherance of their own clients’ interests, they cannot be said to have

“relied” on the court’s creation of a common benefit fund as an incentive to do that work, because it

needed to be done in any event. Lead counsel may be disappointed by not receiving a common

benefit fee, but doesn’t give rise to a cognizable reliance interest.

       For all these reasons, Plaintiffs submit that a common benefit distribution is unwarranted in

this MDL except as to work done exclusively for the benefit of the MDL itself. Thus, for example,

it may be appropriate to compensate liaison counsel for the administrative work conducted on

behalf of the MDL litigants. It may also be appropriate to compensate lead counsel for their efforts



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in preparing “trial notebooks” for other lawyers in the MDL (although, it should be noted, the Koen

Plaintiffs had no idea such notebooks existed and were never offered any other type of assistance

from lead counsel. See Hendler Dec. ¶ 19.) Lead counsel may even be entitled to compensation for

their support of appellate litigation related to preemption (although they managed to litigate that

issue quite well in the Ninth Circuit without the assistance of paid counsel from the outside).7

       But, in Plaintiffs’ view, there is no justification whatsoever for giving lead counsel a flat 8%

chunk of everyone else’s fee, particularly given the preferential treatment they received in their

own individual cases by virtue of their leadership role in the MDL. That, we submit, is not the

“least worst” outcome; it is the worst outcome, period. Better to deny any common distribution at

all, as the Special Master recommended, than to simply give the entire holdback fund to lead

counsel, who have already been richly compensated for their efforts as compared to non-lead

lawyers in this MDL.

       B.      At a Minimum, the Court Should Not Require Any Common Benefit
               Distribution for Cases, Like This One, that Require Substantial Litigation
               Outside the MDL.
       Even if some common benefit distribution is warranted as to some cases in this MDL, there

is no justification for imposing a flat 8% holdback on all cases in the MDL. First, it is worth noting

that the 8% holdback may itself be excessive. See William B. Rubenstein, 5 Newberg and

Rubenstein on Class Actions § 15:115 (6th ed. June 2024 update) (noting that “a typical common

benefit assessment is 4% to 6% of the client’s gross recovery.”).

       Beyond that, imposing the same flat tax on all MDL participants regardless of their

underlying circumstances creates a serious fairness problem. As the Special Master observed,

“[a]ll firms are subject to the same flat 8% holdback, yet the nature of the work that firms continue


7 Public Justice participated as co-counsel on the appeal on a pro bono basis.




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to perform varies significantly.” Id. “[I]t does not seem fair,” he added, “that a firm that develops

experts, overcomes motions for summary judgment, and prepares its case for trial should have to

pay the same 8% cut of its fees as a firm that settled its case with minimal work.” Id.8

        The Koen Plaintiffs wholeheartedly agree. Under the Court’s proposed approach, lawyers

who spend hundreds or even (as in this case) thousands of hours litigating their individual cases are

subject to the same holdback as “free riders” who do little or no work on behalf of their clients and

rely entirely on the work of MDL counsel. How can that be a fair result? Short answer: it isn’t.

        The unfairness of a flat 8% tax on all MDL participants is underscored by the fact that MDL

litigants “may have no choice but to accept and pay for certain legal services as directed by the

court.” Judging, 90 N.Y.U. L. Rev. at 102–03. Because attorneys swept up into an MDL “cannot

conduct discovery on their own, . . . they have few options but to use the common work product

unless they remain solely in state courts.” Id. at 107; see also Monopolies, 70 Vand. L. Rev. at 146

(noting that “in multidistrict litigation; plaintiffs have their own attorneys and have no choice but to

accept and pay for lead lawyers' judicially appointed services.”).

        This Court acknowledged the unfairness of a flat 8% tax in PTO 312 but suggested that

there’s no way around it because “if you tweak a result for one party or group to make it more fair

for them, you’ve inevitably made it less fair for another party of group.” Id. at 2. Plaintiffs

respectfully disagree. Given the relatively small number of cases that have been remanded from



8 See also Elizabeth Chamblee Burch, Judging Multidistrict Litigation, 90 N.Y.U. L. Rev. 71, 133
(2015) (“Judging”) , (noting that “if cases were transferred back to their original fora for trial as
Congress intended, reflexively awarding lead lawyers a flat percentage of plaintiffs' settlement
could be unreasonable given that individual counsel ushered in the final result”); A Proposal, 63
Vand. L. Rev. at 128 (noting that, traditionally, the common fund doctrine “applies only when the
beneficiary, whether in person or by counsel, has made no significant contribution to the
transaction by which the common fund is created, preserved, or enlarged. When everyone
contributes something of importance, no one receives restitution from anyone else.”) (cleaned up;
citation omitted).
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the MDL, it should be a relatively easy matter to “tweak” the common benefit distribution to

exclude firms that had to pour substantial resources into their cases outside the MDL. See

Elizabeth Chamblee Burch, MDL for the People, 108 Iowa L. Rev. 1015 (2023) (“Remand is rare.

MDL judges resolve ninety-nine percent of the cases before them.”).

        To be sure, that would require some consideration of individual circumstances, but isn’t

that what judges (or their Special Masters) are uniquely well qualified to do? The Special Master

here did not say it would be impossible to conduct any such inquiry; and there is no reason to

suppose that this approach would be so unworkable as to justify a draconian 8% flat tax on every

firm in the MDL regardless of the underlying circumstances.

        As to the Court’s concern that any attempts at line-drawing would “inevitably make it less

fair for another party or group” (PTO 312 at 2): that’s always true whenever any line is drawn. But,

in Plaintiffs’ view, the Court’s solution to that problem was to draw the most unfair line of all—one

that makes all MDL litigants pay lead counsel 8% of their fee regardless of the underlying

circumstances. A better approach, we submit, is to draw a line that at least attempts to approximate

real-world circumstances by allowing attorneys who put substantial resources into their cases

outside the MDL to make a case for a common-benefit exemption—such as Plaintiffs have done

here.

        At a minimum, the Court should consider applying a sliding-scale common-benefit

percentage that’s inversely proportional to the amount of the underlying recovery attributable to

non-lead counsel’s work. Thus, for example, the Court could determine the average settlement

value of non-lead counsel’s cases within the MDL and apply descending common-benefit

percentages in proportion to the amount any given settlement exceeds the average. Because cases

that settle for a higher value than the average likely took more work on the part of non-MDL



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counsel, this would be a fairer approach than the across-the-board 8% distribution proposed in

PTO 312.

       And if there was ever a case that vividly illustrates the unfairness that would result from

this Court’s “least-worst” rule, it’s this one. As explained above, this case was heavily litigated for

two and a half years post remand in the Western District of Texas. Due to the unique nature of

Bradley Koen’s injuries, this case actually required four stages of causation: (1) that Roundup

causes NHL, (b) that Roundup caused Mr. Koen’s NHL, (3) that Mr. Koen’s NHL caused his PEM;

and (4) that PEM caused his death. As Demik explains, “this was not an ordinary glyphosate/NHL

case in that regard and required vastly more time and preparation because of it.” Demik Dec. ¶ 17.

       Post-transfer, there were eight expert depositions (including two of Monsanto’s doctors)

and another deposition of Mr. Koen’s widow. Id. In addition to the case-specific motions practice

conducted within the MDL on issues relating to Texas law and specific causation, the trial team

devoted substantial time post remand, including on pretrial briefing, meetings with experts and

consultants, meetings and interviews with clients and lay witnesses, depositions, internal strategy

meetings, and preparation for trial. Id. ¶ 28. Monsanto fought every step of the way, filing 31

Motions in Limine, many on issues that had never been briefed in the MDL. Monsanto kept filing

motions up until the week of trial and only agreed to a settlement at the last minute as the parties

were about to select a jury. Id. ¶ 7.

       There is no question, moreover, that the relatively high settlement achieved in this case

resulted from the unique efforts of undersigned counsel. As this Court can see from the amount of

the holdback deposited by Plaintiffs’ counsel, the recovery substantially exceeds any negotiated

recovery by non-lead lawyers with cases in the MDL.




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        Moreover, before this case was transferred back to Texas, the Special Master offered to

settle the case for $75,000—a small fraction of what the case ultimately settled for two and one-

half years later. Hendler Dec. ¶¶ 6-10. (The settlement amount is confidential, but it can be

determined by reference to the amount of the holdback deposited with the Special Master.)9 The

enormous increase in the case’s settlement value is testament to the unique efforts of Plaintiffs’

counsel here.

        During the March 4 hearing, this Court suggested that this case’s high settlement value

actually supports a common benefit contribution, because Plaintiffs’ attorneys will still have a

sizable fee despite the forced 8% fee transfer. In Plaintiffs’ view, that misses the point. The fact

that the case settled for so much more than it was worth pre-transfer, while still in the MDL, shows

that the bulk of the case’s value came from non-lead counsel’s efforts. Lead counsel will be

unjustly enriched if they are allowed 8% of the fee regardless of its relative size.

        In short, even if some holdback is warranted as to “free riding” attorneys whose claims

were resolved within the MDL with little or no effort on the part of non-MDL counsel, it is not not

warranted here—or in any other case that took substantial efforts post-remand.

        But if the Court nonetheless concludes that some type of holdback is warranted in this case,

it should be limited to the $75,000 the Special Master offered to resolve this case while it was

pending in the MD—or, at most, the $150,000 Monsanto subsequently offered to settle the case

prior to remand. See Hendler Dec. ¶¶ 6-11. Applying the 8% to the entire settlement value would

reward lead counsel for underlying counsel’s work—a result that, in Plaintiffs’ view, cannot be

justified either in terms of equity or necessity.

                                            CONCLUSION


9 Prior to remand, Monsanto’ s settlement counsel increased the offer to $150,000. Id. ¶ 11. This

offer was also declined.
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       For the foregoing reasons, Plaintiffs respectfully urge the Court to hold that a common

benefit distribution is only warranted with respect to work done exclusively for the benefit of the

MDL, and direct the Special Master to identify and recommend a value for that work. Barring that,

the Court should, at a minimum, order the return of the common benefit holdback in this case and

other cases where substantial resources were expended post-remand to bring the case to a

conclusion.



 Dated: March 20, 2025                          Respectfully submitted,

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